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                    Exhibit 11
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              Exhibit 11
Claim 15 of U.S. Patent No. 10,965,512




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                               Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.246 Filed 03/29/22 Page 3 of 29
                                                           U.S. Patent No. 10,965,512: Claim 15(a)
"15. An orthogonal frequency division multiple access (OFDMA)-compatible mobile station that uses subcarriers in a frequency domain and time slots in
                                           a time domain, the OFDMA-compatible mobile station comprising:"
 15.     An orthogonal frequency division     Ford’s Accused Products include vehicles equipped with components and/or devices that enable
 multiple access (OFDMA)-compatible           connectivity to 4G/LTE networks and services, including services sold and provided by Ford.
 mobile station that uses subcarriers in a
 frequency domain and time slots in a time To the extent the preamble is considered a limitation, Ford’s Accused Products meet the preamble of
 domain, the OFDMA-compatible mobile          the ’512 patent. E.g.,
 station comprising:
                                              The LTE release 8 standard and subsequent releases (“LTE”) include an orthogonal frequency division
                                              multiple access (OFDMA)-compatible mobile station that uses subcarriers in a frequency domain and time
                                              slots in a time domain.

                                            For example, the LTE specification (Series 36, Release 8) supports user equipment (UEs) to communicate
                                            with eNodeBs.




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                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.247 Filed 03/29/22 Page 4 of 29
                                                        U.S. Patent No. 10,965,512: Claim 15(a)
"15.   An orthogonal frequency division multiple access (OFDMA)-compatible mobile station that uses subcarriers in a frequency domain and time slots in
                                         a time domain, the OFDMA-compatible mobile station comprising:"




                                            See e.g., 3GPP TS 36.300 V8.12.0 at pg. 15.



                                            LTE uses OFDMA in the downlink transmission.




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                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.248 Filed 03/29/22 Page 5 of 29
                                                        U.S. Patent No. 10,965,512: Claim 15(a)
"15.   An orthogonal frequency division multiple access (OFDMA)-compatible mobile station that uses subcarriers in a frequency domain and time slots in
                                         a time domain, the OFDMA-compatible mobile station comprising:"




                                            See e.g., 3GPP TS 36.300 V8.12.0 at pg. 25.


                                            Each frame structure has time slots. For example, Frame structure type 1 for FDD includes 20 time slots.




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                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.249 Filed 03/29/22 Page 6 of 29
                                                        U.S. Patent No. 10,965,512: Claim 15(a)
"15.   An orthogonal frequency division multiple access (OFDMA)-compatible mobile station that uses subcarriers in a frequency domain and time slots in
                                         a time domain, the OFDMA-compatible mobile station comprising:"




                                            See e.g., 3GPP TS 36.211 V8.9.0 at pgs. 9-10.


                                            The mobile station receives signals in the form of subcarriers having a time domain and frequency domain
                                            component.




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                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.250 Filed 03/29/22 Page 7 of 29
                                                        U.S. Patent No. 10,965,512: Claim 15(a)
"15.   An orthogonal frequency division multiple access (OFDMA)-compatible mobile station that uses subcarriers in a frequency domain and time slots in
                                         a time domain, the OFDMA-compatible mobile station comprising:"




                                            See e.g., 3GPP TS 36.211 V8.9.0 at pg. 45.




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                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.251 Filed 03/29/22 Page 8 of 29
                                                        U.S. Patent No. 10,965,512: Claim 15(a)
"15.   An orthogonal frequency division multiple access (OFDMA)-compatible mobile station that uses subcarriers in a frequency domain and time slots in
                                         a time domain, the OFDMA-compatible mobile station comprising:"




                                            See e.g., 3GPP TS 36.211 V8.9.0 at pgs. 45-46.

                                                                          7
                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.252 Filed 03/29/22 Page 9 of 29
                                                        U.S. Patent No. 10,965,512: Claim 15(a)
"15.   An orthogonal frequency division multiple access (OFDMA)-compatible mobile station that uses subcarriers in a frequency domain and time slots in
                                         a time domain, the OFDMA-compatible mobile station comprising:"
                                            A physical resource block (PRB) corresponds to a plurality of consecutive OFDM symbols in the time
                                            domain and a plurality of consecutive subcarriers in the frequency domain, which correspond to a block of
                                            resource elements. The block of resource elements correspond to one time slot in the time domain and 180
                                            kHz in the frequency domain.




                                            See e.g., 3GPP TS 36.211 V8.9.0 at pgs. 46-47.




                                                                          8
                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.253 Filed 03/29/22 Page 10 of 29
                                                        U.S. Patent No. 10,965,512: Claim 15(a)
"15.   An orthogonal frequency division multiple access (OFDMA)-compatible mobile station that uses subcarriers in a frequency domain and time slots in
                                         a time domain, the OFDMA-compatible mobile station comprising:"




                                            See e.g., 3GPP TS 36.211 V8.9.0 at pg. 76.




                                                                          9
                              Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.254 Filed 03/29/22 Page 11 of 29
                                                             U.S. Patent No. 10,965,512: Claim 15(b)
                            "at least one antenna; and a receiver; and the at least one antenna and the receiver are configured to:
                   receive first pilots of a first type on a first plurality of subcarriers, wherein the first pilots are cell-specific pilots; and
  receive second pilots of a second type and data on a second plurality of subcarriers, wherein the first plurality of subcarriers and the second plurality of
                                                     subcarriers are received in at least one of the time slots;"
at least one antenna; and                        Ford’s Accused Products each include at least one antenna and a receiver, wherein the at least one antenna
a receiver; and                                  and the receiver are configured first and second pilots of first and second types, respectively. E.g.,
the at least one antenna and the receiver
are configured to:                                The UE receives first pilots of a first type on a first plurality of subcarriers, wherein the first pilots are cell-
receive first pilots of a first type on a first   specific pilots and receive second pilots of a second type and data on a second plurality of subcarriers,
                                                  wherein the first plurality of subcarriers and the second plurality of subcarriers are received in at least one of
plurality of subcarriers, wherein the first
                                                  the time slots.
pilots are cell-specific pilots; and
receive second pilots of a second type and
                                                  For example, the LTE UE receives cell-specific reference signals and UE-specific reference signals via at
data on a second plurality of subcarriers,
                                                  least one antenna on a plurality of subcarriers in at least one time slot.
wherein the first plurality of subcarriers
and the second plurality of subcarriers are
received in at least one of the time slots;




                                                  See e.g., 3GPP TS 36.300 V8.12.0 at pg. 23.


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                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.255 Filed 03/29/22 Page 12 of 29
                                                           U.S. Patent No. 10,965,512: Claim 15(b)
                          "at least one antenna; and a receiver; and the at least one antenna and the receiver are configured to:
                 receive first pilots of a first type on a first plurality of subcarriers, wherein the first pilots are cell-specific pilots; and
receive second pilots of a second type and data on a second plurality of subcarriers, wherein the first plurality of subcarriers and the second plurality of
                                                   subcarriers are received in at least one of the time slots;"




                                             See e.g., 3GPP TS 36.211 V8.9.0 at pg.65.

                                             The mapping of the cell-specific reference signals are to resource elements that correspond to a subcarrier
                                             and symbol in a slot.




                                             See e.g., 3GPP TS 36.211 V8.9.0 at pg.65.




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                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.256 Filed 03/29/22 Page 13 of 29
                                                           U.S. Patent No. 10,965,512: Claim 15(b)
                          "at least one antenna; and a receiver; and the at least one antenna and the receiver are configured to:
                 receive first pilots of a first type on a first plurality of subcarriers, wherein the first pilots are cell-specific pilots; and
receive second pilots of a second type and data on a second plurality of subcarriers, wherein the first plurality of subcarriers and the second plurality of
                                                   subcarriers are received in at least one of the time slots;"




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                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.257 Filed 03/29/22 Page 14 of 29
                                                           U.S. Patent No. 10,965,512: Claim 15(b)
                          "at least one antenna; and a receiver; and the at least one antenna and the receiver are configured to:
                 receive first pilots of a first type on a first plurality of subcarriers, wherein the first pilots are cell-specific pilots; and
receive second pilots of a second type and data on a second plurality of subcarriers, wherein the first plurality of subcarriers and the second plurality of
                                                   subcarriers are received in at least one of the time slots;"




                                             See e.g., 3GPP TS 36.211 V8.9.0 at pg.66-67.


                                             The UE-specific reference signals are transmitted on resource elements, which include the second plurality
                                             of subcarriers, upon which a corresponding PDSCH, data, is mapped.



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                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.258 Filed 03/29/22 Page 15 of 29
                                                           U.S. Patent No. 10,965,512: Claim 15(b)
                          "at least one antenna; and a receiver; and the at least one antenna and the receiver are configured to:
                 receive first pilots of a first type on a first plurality of subcarriers, wherein the first pilots are cell-specific pilots; and
receive second pilots of a second type and data on a second plurality of subcarriers, wherein the first plurality of subcarriers and the second plurality of
                                                   subcarriers are received in at least one of the time slots;"




                                             See e.g., 3GPP TS 36.211 V8.9.0 at pg. 70.




                                             ...

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                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.259 Filed 03/29/22 Page 16 of 29
                                                           U.S. Patent No. 10,965,512: Claim 15(b)
                          "at least one antenna; and a receiver; and the at least one antenna and the receiver are configured to:
                 receive first pilots of a first type on a first plurality of subcarriers, wherein the first pilots are cell-specific pilots; and
receive second pilots of a second type and data on a second plurality of subcarriers, wherein the first plurality of subcarriers and the second plurality of
                                                   subcarriers are received in at least one of the time slots;"




                                             See e.g., 3GPP TS 36.211 V8.9.0 at pg.71-72




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                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.260 Filed 03/29/22 Page 17 of 29
                                                           U.S. Patent No. 10,965,512: Claim 15(b)
                          "at least one antenna; and a receiver; and the at least one antenna and the receiver are configured to:
                 receive first pilots of a first type on a first plurality of subcarriers, wherein the first pilots are cell-specific pilots; and
receive second pilots of a second type and data on a second plurality of subcarriers, wherein the first plurality of subcarriers and the second plurality of
                                                   subcarriers are received in at least one of the time slots;"




                                             See e.g., LTE - The UMTS Long Term Evolution - FROM THEORY TO PRACTICE - 2nd Edition pg. 171.




                                                                            16
                                Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.261 Filed 03/29/22 Page 18 of 29
                                                            U.S. Patent No. 10,965,512: Claim 15(c)
               "wherein at least some subcarriers of the first plurality of subcarriers or the second plurality of subcarriers are beam-formed; and
wherein at least some subcarriers of the       At least some of the first or second plurality subcarriers used to receive the first or second pilots by Ford’s
first plurality of subcarriers or the second   Accused Products are beamformed. E.g.,
plurality of subcarriers are beam-formed;
and                                            For example, one of the usage of the UE-speciﬁc RSs is to enable beamforming of the data transmissions to
                                               speciﬁc UEs via the second plurality of subcarriers.




                                               ...




                                                    ...
                                              See e.g., 3GPP TS 36.300 V8.12.0 at pg. 30.

                                              In LTE, subcarriers are beam-formed through precoding.




                                                                              17
                Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.262 Filed 03/29/22 Page 19 of 29
                                             U.S. Patent No. 10,965,512: Claim 15(c)
"wherein at least some subcarriers of the first plurality of subcarriers or the second plurality of subcarriers are beam-formed; and




                                 See e.g., 3GPP TS 36.211 V8.9.0 at pg. 52.




                                                                18
                Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.263 Filed 03/29/22 Page 20 of 29
                                             U.S. Patent No. 10,965,512: Claim 15(c)
"wherein at least some subcarriers of the first plurality of subcarriers or the second plurality of subcarriers are beam-formed; and




                                 See e.g., LTE - The UMTS Long Term Evolution - FROM THEORY TO PRACTICE - 2nd Edition pg. 171.




                                                                19
                            Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.264 Filed 03/29/22 Page 21 of 29

                                                         U.S. Patent No. 10,965,512: Claim 15(d)
                                                           "the receiver is further configured to:
       recover the data using channel estimates from at least the second pilots; and recover cell-specific information using the cell-specific pilots;”
the receiver is further configured to:       The receiver of Ford’s Accused Products is further configured to recover the data using channel estimates
recover the data using channel estimates     and cell-specific information using the pilots. E.g.,
from at least the second pilots; and
recover cell-specific information using the The UE is further configured to recover the data using channel estimates from at least the second pilots and
cell-specific pilots;                        recover cell-specific information using the cell-specific pilots.

                                             For example, the LTE UE uses the UE-specific reference signals embedded in the received PRBs to derive
                                             the channel estimation for demodulating the data in the corresponding PDSCH resource blocks.




                                             See e.g., 3GPP TS 36.211 V8.9.0 at pg. 70.




                                             See e.g., LTE - The UMTS Long Term Evolution - FROM THEORY TO PRACTICE - 2nd Edition pg. 171.


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                                                   U.S. Patent No. 10,965,512: Claim 15(d)
                                                     "the receiver is further configured to:
recover the data using channel estimates from at least the second pilots; and recover cell-specific information using the cell-specific pilots;”
                                      The LTE UE recovers cell-specific information, such as the cell ID, using the cell-specific pilots. The Cell
                                      ID (NIDcell) is used for generating the cell-specific reference signal sequence.




                                      See e.g., 3GPP TS 36.211 V8.9.0 at pgs.65-66.


                                      The LTE cell-specific reference signal is also used to recover cell-specific information from the
                                      MasterInformationBlock, which is transmitted via the broadcast channel (BCH). The cell-specific reference
                                      signal is used, inter alia, to estimate the channel corresponding to the center part of the carrier where the
                                      BCH is transmitted.




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                                                  U.S. Patent No. 10,965,512: Claim 15(d)
                                                    "the receiver is further configured to:
recover the data using channel estimates from at least the second pilots; and recover cell-specific information using the cell-specific pilots;”




                                       See e.g., 3GPP TS 36.331 V8.21.0 at pgs.85-86.




                                                                       22
                      Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.267 Filed 03/29/22 Page 24 of 29

                                                  U.S. Patent No. 10,965,512: Claim 15(d)
                                                    "the receiver is further configured to:
recover the data using channel estimates from at least the second pilots; and recover cell-specific information using the cell-specific pilots;”




                                       See e.g., 4G, LTE ADVANCED PRO AND THE ROAD TO 5G, Third Edition, pg. 104




                                                                       23
                             Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.268 Filed 03/29/22 Page 25 of 29

                                                             U.S. Patent No. 10,965,512: Claim 15(e)
               " wherein the second type is different than the first type and wherein the first pilots do not interfere with the second pilots.”
wherein the second type is different than       The second type of pilots used with Ford’s Accused Products are different than the first type of pilots and
the first type and wherein the first pilots     the first pilots do not interfere with the second pilots. E.g.,
do not interfere with the second pilots.
                                                For example, cell-specific reference signals, the first pilots, are different than the UE-specific reference
                                                signals, second pilots.




                                              See e.g., 3GPP TS 36.211 V8.9.0 at pg.65.

                                              The UE-specific reference signals are not transmitted in resource elements in which other physical signals,
                                              such as the cell-specific reference signal, are transmitted. Thus, they do not interfere.




                                              See e.g., 3GPP TS 36.211 V8.9.0 at pg. 70.




                                                                              24
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                                             U.S. Patent No. 10,965,512: Claim 15(e)
" wherein the second type is different than the first type and wherein the first pilots do not interfere with the second pilots.”




                                  ...




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                Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.270 Filed 03/29/22 Page 27 of 29

                                             U.S. Patent No. 10,965,512: Claim 15(e)
" wherein the second type is different than the first type and wherein the first pilots do not interfere with the second pilots.”




                                 See e.g., 3GPP TS 36.211 V8.9.0 at pg.71-72




                                 See e.g., 3GPP TS 36.211 V8.9.0 at pg.65.




                                                                 26
                Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.271 Filed 03/29/22 Page 28 of 29

                                             U.S. Patent No. 10,965,512: Claim 15(e)
" wherein the second type is different than the first type and wherein the first pilots do not interfere with the second pilots.”




                                                                 27
                Case 2:22-cv-11402-TGB ECF No. 1-11, PageID.272 Filed 03/29/22 Page 29 of 29

                                             U.S. Patent No. 10,965,512: Claim 15(e)
" wherein the second type is different than the first type and wherein the first pilots do not interfere with the second pilots.”




                                 See e.g., 3GPP TS 36.211 V8.9.0 at pg.66-67.




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